
208 N.W.2d 11 (1973)
CITY OF PIERRE, Plaintiff and Respondent,
v.
James Peter SMITH, Defendant and Appellant.
No. 11202.
Supreme Court of South Dakota.
June 6, 1973.
Stephens, Riter, Mayer &amp; Hofer, Robert D. Hofer, Pierre, for plaintiff and respondent.
Richard Smith and Terry L. Pechota, Rosebud, for defendant and appellant.
PER CURIAM.
Defendant was found guilty on two charges of violating municipal ordinances of the City of Pierre and has attempted to appeal from his conviction.
SDCL 23-51-1 provides that, "An appeal to the Supreme Court may be taken by the defendant from a final judgment of conviction." SDCL 23-48-14 provides that a judgment becomes complete and effective when reduced to writing, signed by the court, attested by the clerk and filed in his office. The record in the instant case reveals that no judgment of conviction has ever been signed, attested or filed; indeed, at the conclusion of the trial the trial judge indicated that he would grant defendant's request that sentencing be deferred pending appeal. Accordingly, this appeal must be dismissed. City of Pierre v. Lampert, 70 S.D. 114, 15 N.W.2d 360. An order will be entered accordingly.
All the Justices concur.
MUNDT, Circuit Judge, sitting for DOYLE, J., not participating.
